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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                               Judge Raymond P. Moore

 Civil Action No. 20-cv-03668-RM-STV

 CITIZENS FOR CONSTITUTIONAL INTEGRITY; and
 SOUTHWEST ADVOCATES, INC.,

        Plaintiffs,

 v.

 THE UNITED STATES OF AMERICA;
 THE OFFICE OF SURFACE MINING RECLAMATION AND ENFORCEMENT;
 DEB HAALAND, in her official capacity as Secretary of the Department of the Interior;
 GLENDA OWENS, in her official capacity as Acting Director of the Office of Surface Mining
 Reclamation and Enforcement; and
 KATE MACGREGOR, in her official capacity as Acting Assistant Secretary for Land and
 Minerals Management,

        Defendants,

 and

 GCC ENERGY, LLC,

       Interested Party.
 ______________________________________________________________________________

                                    ORDER
 ______________________________________________________________________________

        This consolidated case is before the Court on Defendants’ Motion to Dismiss (ECF

 No. 33), which has been fully briefed (ECF Nos. 40, 44, 51). The Court grants the Motion for

 the reasons below. In addition, Plaintiffs’ Motion for Summary Judgment (ECF No. 26) is

 denied as moot, and Interested Party GCC Energy, LLC’s Motion to Intervene (ECF No. 28) is

 denied without prejudice.
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 I.     LEGAL STANDARD

        In evaluating a motion to dismiss under Fed. R. Civ. P. 12(b)(6), a court must accept as

 true all well-pleaded factual allegations in the complaint, view those allegations in the light most

 favorable to the plaintiff, and draw all reasonable inferences in the plaintiff’s favor. Brokers’

 Choice of Am., Inc. v. NBC Universal, Inc., 757 F.3d 1125, 1136 (10th Cir. 2014); Mink v. Knox,

 613 F.3d 995, 1000 (10th Cir. 2010). The complaint must allege a “plausible” right to relief.

 Bell Atl. Corp. v. Twombly, 550 U.S. 544, 569 n.14 (2007); see also id. at 555 (“Factual

 allegations must be enough to raise a right to relief above the speculative level.”). Conclusory

 allegations are insufficient, Cory v. Allstate Ins., 583 F.3d 1240, 1244 (10th Cir. 2009), and

 courts “are not bound to accept as true a legal conclusion couched as a factual allegation,”

 Twombly, 550 U.S. at 555 (quotation omitted).

 II.    BACKGROUND

        This case presents questions on the constitutionality of the Congressional Review Act

 (“CRA”), and the facts pertaining to its application in this case are not in dispute. Enacted as

 part of the Contract with America Advancement Act of 1996, the CRA “assists Congress in

 discharging its responsibilities for overseeing federal regulatory agencies” and was designed to

 provide “an expedited procedure to review and disapprove federal regulations.” Ctr. for

 Biological Diversity v. Bernhardt, 946 F.3d 553, 556 (9th Cir. 2019) (“CBD”). Pursuant to the

 CRA, before a new rule promulgated by a federal agency can take effect, the agency must submit

 to Congress a report containing a concise general statement about the rule. See id. Congress

 then has a period of time, typically sixty days, to object to the rule by passing a joint resolution

 of disapproval. Id. at 557. The CRA limits debate on a joint resolution to only ten hours and


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 allows it to be placed on the Senate calendar on an expedited schedule. See id. This procedure

 bypasses the possibility of a filibuster in the Senate, which normally precludes enacting

 legislation unless it has the support of sixty Senators. Once the President signs a joint resolution

 passed by a simple majority in the House and Senate, the agency’s rule cannot take effect or

 continue, and the agency is proscribed from issuing a new rule that is substantially the same as

 the disapproved rule unless specifically authorized to do so by new legislation. See id.

        In December 2016, Defendant Office of Surface Mining Reclamation and Enforcement

 (“OSMRE”) promulgated the stream protection rule, which modified various regulations

 pertaining to coal mining permits and monitoring of groundwater and surface water. Two

 months later, the rule was invalidated when the House and Senate passed, and the President

 signed, a joint resolution disapproving it. Fifty-four senators voted in favor of the joint

 resolution.

        In 2018, the Department of the Interior approved a mining plan modification for GCC

 Energy, LLC’s King II Mine. In its assessment of the modification plan, the Department did not

 apply the invalidated stream protection rule. Plaintiffs contend that had it done so, the

 modification, which injures their members, would not have been approved. Prompted by the

 modification approval, Plaintiffs brought this lawsuit asserting that the CRA violates equal

 protection, substantive due process, and the separation of powers.

 III.   ANALYSIS

        In assessing the constitutionality of the CRA, the Court begins with the presumption that

 it is valid. See INS v. Chadha, 462 U.S. 919, 944 (1983). The Court’s role is not to consider the




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 wisdom or utility of the statute. See id. at 944-45. Rather, the Court must determine whether

 “the demands of the Constitution” are satisfied. Id. at 945.

        The Constitution provides that each House of Congress “may determine the Rules of its

 Proceedings.” U.S. Const. art. I, § 5, cl. 2. The Constitution also provides that no law can take

 effect unless the legislation passes both Houses and is presented to the President. U.S. Const.

 art. I, § 7, cls. 2, 3. Plaintiffs concede, as they must, that the CRA satisfies the bicameral and

 presentment requirements set forth in Article I, § 7. (See ECF No. 40 at 5.) They argue instead

 that the CRA violates the Fifth Amendment and separation-of-powers principles.

        A.      Equal Protection

        Plaintiffs first argue that the CRA violates the Equal Protection Clause because it creates

 two, unequal voting thresholds and thereby creates two classes of citizens: (1) citizens protected

 by statutes that delegate authority to agencies and (2) citizens protected by statutes directly. (Id.

 at 11.) According to Plaintiffs, “[t]he first category includes citizens facing problems for which

 Congress delegated statutory authorities to agencies,” and “[t]he second category includes

 citizens who face less-complex issues that Congress can solve directly by statute without

 delegating to an agency.” (ECF No. 14 at 45-46.) Plaintiffs further argue that such classification

 is not rationally related to a legitimate government interest. Defendants argue that the

 procedures set forth in the CRA comply with the constitutional requirements for legislative

 action and do not violate equal protection principles. The Court agrees with Defendants.

        First, the Court rejects Plaintiffs’ framing of the issue insofar as they presuppose citizens

 may reasonably be placed into the proffered categories and that such categories may be clearly

 delineated. On some level, all citizens may be considered “protected” by both types of statute.


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 The CRA certainly makes no mention of these categories, and the Court finds there is no

 principled basis for such categorization. The CRA simply allows the Senate to operate

 differently in different scenarios—when federal agencies propose new rules and when its own

 members propose new laws. But in either event, no legislation passes without a simple majority

 in each House and presentment to the President as required by the Constitution. The Court

 discerns no equal protection problem in such an arrangement.

        Second, even assuming the citizenry could be categorized along the lines Plaintiffs

 suggest, the Court finds it is not irrational for Congress to exercise control over the agencies

 Congress itself created in the manner contemplated by the CRA. Congress has merely legislated

 a way to have the final say with respect to when new rules—promulgated by the agencies to

 which Congress itself delegated authority to act in the first place—will become law. The fact

 that Congress and the President used the CRA’s procedure to invalidate a rule that Plaintiffs

 happen to favor does not render the procedure itself irrational.

        B.      Substantive Due Process

        Plaintiffs also argue that the CRA violates the Substantive Due Process Clause because

 adopting a different voting threshold to repeal agency rules from the higher threshold normally

 required to enact legislation advances no legitimate or compelling government objective.

 However, the Court finds it is not unreasonable for Congress to exercise oversight of federal

 agencies by means of the CRA.

        C.      Separation of Powers

        Finally, Plaintiffs argue that the CRA violates the separation of powers because Congress

 can rescind delegations of authority to federal agencies more easily than they can redelegate such


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 authority, thereby eroding the authority of the Executive Branch. Again, the Court is not

 persuaded by Plaintiffs’ framing of the issue. Federal agencies’ authority originates from

 Congress; it follows that Congress may proscribe that authority. See CBD, 946 F.3d at 562

 (“When Congress enacts legislation that directs an agency to issue a particular rule, Congress has

 amended the law.” (quotation omitted)). Plaintiffs have not identified, and the Court is not aware

 of, any legal authority for the proposition that a validly enacted joint resolution disapproving of

 an agency rule violates separation-of-powers principles.

 IV.     CONCLUSION

         Accordingly, Defendants’ Motion to Dismiss (ECF No. 33) is GRANTED, Plaintiffs’

 Motion for Summary Judgment (ECF No. 26) is DENIED AS MOOT, and Interested Party GCC

 Energy, LLC’s Motion to Intervene is DENIED WITHOUT PREJUDICE. Pursuant to this

 Court’s May 4, 2021 Order (ECF No. 50), Defendants in Civil Action No. 21-cv-00923-RM

 shall Answer or otherwise respond to the Complaint in that case on or before September 13,

 2021.

         DATED this 30th day of August, 2021.

                                                       BY THE COURT:



                                                       ____________________________________
                                                       RAYMOND P. MOORE
                                                       United States District Judge




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